oCon~>rN MA BWNHN —

Mmuaurb ph PP RD PBR HR Pw WwW WwW WW WW WD WNONN NHN NN NN DNDN Se SS eR eS ER
KH DO WMWTAMNAWNHK DH WADA EWN TeEAAIANUMAPWHKH TWO AAADNMHWNH CH

Case: 1:08-cv-03325 Document #: 13 Filed: 01/11/08 Page 1 of 18 PagelD #:209

THE HONORABLE THOMAS S. ZILLY

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
INDRA LAKSONO, as Personal Representative
of the Estate of HENDRA LAKSONO, NO. C-07-1907 TSZ
deceased;

ANSWER OF DEFENDANT THE
DESTI YANTI, as Personal Representative of BOEING COMPANY TO COMPLAINT
the Estate of ARDINAL AMIR, deceased; FOR DAMAGES

NANY THERESIA, as Personal Representative
of the Estate of HARIANTO ISKANDAR,
deceased;

MARZIANA YUSUF, as Personal
Representative of the Estate of JAMALIAH,
deceased;

SO SOIE NGO, as Personal Representative of
the Estate of JOHANNAS JAP, deceased;

HAIRIL LAKSMONQO, as Personal
Representative of the Estate of RISSA
DWIVIANTI OCTARISSA, deceased;

TAN HEE JONG, as Personal Representative of
the Estate of TI TEOW CHUAN, deceased;

UMNI NATSIROH HARAHAP, as Personal
Representative of the Estate of ABDUL
HALIM HARAHAP, deceased;

UMMI NATSIROH HARAHAP, as Personal
Representative of the Estate of HAFSAH,

 

 

 

deceased;
Perkins Coie Lup
1201 Third Avenue, Suite 4800
ANSWER OF DEFENDANT THE BOEING Seattle, Washington 98101-3099
COMPANY (NO, C-07-1907 TSZ) - 1 Phone: (206) 359-8000

1038-493 1/LEGAL13862543.1 Fax: (206) 359-9000

 

 
 

Orin WN

mab Dh RRR RR BPA BD WW WW WW WWW WNONNNNN NNN DN — HB BS BS Se See eS
KH DO W~IDMHPWNKHK TO WADAAAPWNHK DO CANA MAHWN RK DUO WAAIANAHWN HK OY

Case: 1:08-cv-03325 Document #: 13 Filed: 01/11/08 Page 2 of 18 PagelD #:210

LINDWATY NADEAK, as Personal
Representative of the Estate of EVANS
MANUMPAK SINAGA, deceased;

RIA DESI N. HUTAPEA, as Personal
Representative of the Estate of FERI DONALD
SINURAT, deceased;

SYARIFAH SILANGIT, as Personal
representative of the Estate of H. SYAIFUL
BAHRI DAHRA, deceased;

SYARIFAH SILANGIT, as Personal
Representative of the Estate of NURHIDAYAH
DESRAINY PURBA, deceased;

H. T. HUSSEIN, as Personal Representative of
the Estate of HJ. ROHANA, deceased;

NURAINUN, as Personal Representative of the
Estate of IR. TOTOK MARIYANTO, deceased;

JOHANNES LARRY KURNIAWAN
SIBARANI, as Personal Representative of the

‘Estate of LAWRENCE SIBARANI, deceased;

SABARUDDIN RAMBE, as Personal
Representative of the Estate of PRIZANI
ANGGITA RAMBE, deceased;

VINCENT D. BANGUN, as Personal
Representative of the Estate ROSIANNA
SURBAKTI, deceased;

AGUSTINA, as Personal Representative of the
Estate of SURYA MIGA, deceased;

ELIANI, as Personal Representative of the
Estate of ABDUL HAKIM BATUBARA,
deceased;

RATNAWATI BR SEMBIRING, as Personal
Representative of the Estate of AGUS
SINULINGGA, deceased;

 

 

 

ANSWER OF DEFENDANT THE BOEING
COMPANY (NO. C-07-1907 TSZ) - 2
01038-493 1/LEGAL13862543.1

Perkins Coie Lip
1201 Third Avenue, Suite 4800
Seattle, Washington 98101-3099
Phone: (206) 359-8000
Fax: (206) 359-9000

 

 
eOonnMH BwWN —

mubp hh HA HPF Hh Hh PW WWW WWW WWWNNNNNNNNNN S HH HH SR RK HSH Re KK
SK OO WAIN MNAWN HK DO WOAINNMHWNH CTO eARDMNAWN HK CTO MAINA HwWN $$ Orv

Case: 1:08-cv-03325 Document #: 13 Filed: 01/11/08 Page 3 of 18 PagelD #:211

BINARA BR. SURBAKTI, as Personal
Representative of the Estate of BENGKEL
TARIGAN, deceased;

EKA SARI, as Personal Representative of the
Estate of HJ. MARIANI, deceased;

ROHANI, as Personal Representative of the
Estate of RAJAMIN, deceased;

VIVI NOVIKA, as Personal Representative of
the Estate of RAMPE BR. SEMBIRING,
deceased;

TERANG MALEM SEMBIRING, as Personal
Representative of the Estate of ROSMAWATI
BR. SINURAYA, deceased;

PERATEN BR. SEMBIRING, as Personal
Representative of the Estate of SELAMAT
GINTING, deceased;

RAMU SULI NI TUAHTA SINULINGGA, as
Personal Representative of the Estate of
SENTOSA SINULINGGA, deceased;

RAMA SULI NI TUAHTA SINULINGGA, as
Personal Representative of the Estate of
NURLAND BR. SEMBIRING, deceased;

JALIMAR SINURAT, as Personal
Representative of the Estate of SITI MARLINA
BR. SINURAT, deceased;

WASPADA SINULINGGA, as Personal
Representative of the Estate of SRI ELVINA
GINTING, deceased;

ROHADI KAMSAH SITEPU, individually;

KAWAN MENANTI MANULLANG, as
Guardian of FANROY MANULLANG, minor;

INGAM MALEM BR. GINTING, individually;

 

 

 

ANSWER OF DEFENDANT THE BOEING
COMPANY (NO. C-07-1907 TSZ) - 3
01038-4931/LEGAL13862543.1

Perkins Coie Lip
1201 Third Avenue, Suite 4800
Seattle, Washington 98101-3099
Phone: (206) 359-8000
Fax: (206) 359-9000

 

 
D~ TANNA HBWN

murhbp fh HSH HP HHA HP HWW WWWHWWWWWWNONNHNNONNNNN HS KH KP eee ee eK =
SK CO PWADADNHPWNK DO SAAN HWNE TO WAHANAMAAHPWN KH TO weAIAMHWN OO

 

Case: 1:08-cv-03325 Document #: 13 Filed: 01/11/08 Page 4 of 18 PagelD #:212

TYAN EFENDI F. TARIGAN, individually;
MARSITA SINAGA, individually;
PROSENSIUS SINAGA, individually;
DEWI FRISTA SITORUS, individually;
TALENTA BANGUN, individually;
Plaintiffs,
vs.

THE BOEING COMPANY, and UNITED
TECHNOLOGIES CORPORATION,

Defendants.

 

 

Defendant The Boeing Company (“Boeing”) hereby answers plaintiffs’ Complaint for
Damages as follows:

Boeing denies each and every allegation in plaintiffs’ Complaint for Damages, except as
hereinafter specifically admitted, qualified or otherwise answered.

INTRODUCTION

1, Boeing admits that on September 5, 2005, a 737-200 model aircraft equipped with
two Pratt & Whitney model JT8D- engines being operated by Mandala Airlines as Flight 091
(the “Aircraft”) crashed on takeoff from Medan, Indonesia. Boeing further admits that it
designed and manufactured the Aircraft, except for those components, parts, and systems of the
Aircraft manufactured and/or designed by others, and the components, parts and systems that
were subsequently removed, installed, exchanged, altered, modified, retrofitted, overhauled or
manufactured by others. To the extent the allegations in paragraph 1 are directed toward United
Technologies Corporation and require a response from Boeing, Boeing lacks knowledge or

information sufficient to form a belief as to the truth of these allegations

Perkins Coie Lip
1201 Third Avenue, Suite 4800
ANSWER OF DEFENDANT THE BOEING Seattle, Washington 98101-3099
- COMPANY (NO. C-07-1907 TSZ) - 4 Phone: (206) 359-8000
01038-4931/LEGAL13862543.1 Fax: (206) 359-9000

 

 
Rr~AINAO WN

MmMuanb bh SPfPH PH HP SPW WWW WWW WW WNN NNN NWN NN YH RS BS RH Se ee
—- TO PANDMNHPWNRK TO OA ADNP WN DO WMAIAMAAWN KH DO eFAAAMHWNK Ov

 

Case: 1:08-cv-03325 Document #: 13 Filed: 01/11/08 Page 5 of 18 PagelD #:213

2. Boeing admits that plaintiffs assert claims based on strict products liability and
negligence, but denies the substance of those claims. Except as expressly admitted or denied
herein, Boeing lacks knowledge or information sufficient to form a belief as to the truth of the
allegations in paragraph 2.

PARTIES

3. Boeing lacks knowledge or information sufficient to form a belief as to the truth
of the allegations in paragraph 3.

4, Boeing lacks knowledge or information sufficient to form a belief as to the truth
of the allegations in paragraph 4.

5. Boeing lacks knowledge or information sufficient to form a belief as to the truth
of the allegations in paragraph 5.

6. Boeing lacks knowledge or information sufficient to form a belief as to the truth
of the allegations in paragraph 6.

7, Boeing lacks knowledge or information sufficient to form a belief as to the truth
of the allegations in paragraph 7.

8. Boeing lacks knowledge or information sufficient to form a belief as to the truth
of the allegations in paragraph 8.

9. Boeing lacks knowledge or information sufficient to form a belief as to the truth
of the allegations in paragraph 9.

10. Boeing lacks knowledge or information sufficient to form a belief as to the truth
of the allegations in paragraph 10.

11. Boeing lacks knowledge or information sufficient to form a belief as to the truth
of the allegations in paragraph 11.

12. Boeing lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 12..

Perkins Coie Lip
1201 Third Avenue, Suite 4800
ANSWER OF DEFENDANT THE BOEING Seattle, Washington 98101-3099
COMPANY (NO. C-07-1907 TSZ) - 5 Phone: (206) 359-8000
01038-4931/LEGAL13862543.1 Fax: (206) 359-9000

 

 
 

erry NUM fF WN

moarhb fF HHH SAA H HWW WWWWWWWWNNNWN NN NN DNDN DN ee ee eH Se YE
FKP CWO RFAINDUNHPWNK THO MAADUNHWNK THO WANDUNHPWN KH TU WMATADA PWN KH CH

 

Case: 1:08-cv-03325 Document #: 13 Filed: 01/11/08 Page 6 of 18 PagelD #:214

13. Boeing lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 13.
| 14. Boeing lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 14.
15. Boeing lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 15.
16. Boeing lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 16.
17. Boeing lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 17.
18. Boeing lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 18.
19. Boeing lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 19.
20. Boeing lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 20.
21. Boeing lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 21.
22. Boeing lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 22.
23. Boeing lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 23.
24. Boeing lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 24.
25. Boeing lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 25.

Perkins Coie tLe

1201 Third Avenue, Suite 4800
ANSWER OF DEFENDANT THE BOEING Seattle, Washington 98101-3099

COMPANY (NO. C-07-1907 TSZ) - 6 Phone: (206) 359-8000
01038-4931/LEGAL13862543.1 Fax: (206) 359-9000

 

 
ena N Mn PWN —

Murph PPA HP HP HP HPwWW WWW WW WWWN NY NNN NNN NN HS eS me ee ee eS
= DO mnANMNHHRWNK TO CATIA MHWNK TO WAIADMBWNYKH TO WAIAUMNHLWN— OO

 

Case: 1:08-cv-03325 Document #: 13 Filed: 01/11/08 Page 7 of 18 PagelD #:215

26. Boeing lacks knowledge or information sufficient to form a belief as to the truth
of the allegations in paragraph 26.

27. Boeing lacks knowledge or information sufficient to form a belief as to the truth
of the allegations in paragraph 27.

28. Boeing lacks knowledge or information sufficient to form a belief as to the truth
of the allegations in paragraph 28.

29. Boeing lacks knowledge or information sufficient to form a belief as to the truth
of the allegations in paragraph 29.

30. Boeing lacks knowledge or information sufficient to form a belief as to the truth
of the allegations in paragraph 30.

31. Boeing lacks knowledge or information sufficient to form a belief as to the truth
of the allegations in paragraph 31.

32. Boeing lacks knowledge or information sufficient to form a belief as to the truth
of the allegations in paragraph 32.

33. Boeing lacks knowledge or information sufficient to form a belief as to the truth
of the allegations in paragraph 33.

34. Boeing lacks knowledge or information sufficient to form a belief as to the truth
of the allegations in paragraph 34.

35. Boeing lacks knowledge or information sufficient to form a belief as to the truth
of the allegations in paragraph 35.

36. Boeing lacks knowledge or information sufficient to form a belief as to the truth
of the allegations in paragraph 36.

37. Boeing lacks knowledge or information sufficient to form a belief as to the truth
of the allegations in paragraph 37.

38. Boeing lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 38.

Perkins Coie Lip
1201 Third Avenue, Suite 4800
ANSWER OF DEFENDANT THE BOEING Seattle, Washington 98101-3099
COMPANY (NO. C-07-1907 TSZ) - 7 Phone: (206) 359-8000
01038-493 1/LEGAL 13862543. 1 Fax: (206) 359-9000

 

 
SrANO WN

mMuonb SPP HA PAA HAW YWWWWWWWWWNNNY NN NNNN NS RH RH BH Be BS Be SB ee
KH TO WAANAUNDPWN KH CHU WMATAUN PWN KH TO WAIAUNPWNHK DO MOATAMN PWN Dw

 

Case: 1:08-cv-03325 Document #: 13 Filed: 01/11/08 Page 8 of 18 PagelD #:216

39. Boeing lacks knowledge or information sufficient to form a belief as to the truth
of the allegations in paragraph 39.

40. Boeing lacks knowledge or information sufficient to form a belief as to the truth
of the allegations in paragraph 40.

41, Boeing lacks knowledge or information sufficient to form a belief as to the truth
of the allegations in paragraph 41.

42. Boeing admits that plaintiffs seek to recover damages; however, Boeing denies
that it is liable under any legal theory for plaintiffs’ alleged damages. The remaining allegations
in paragraph 42 consist of legal conclusions and do not require a response. To the extent a
response is required, Boeing lacks knowledge or information sufficient to form a belief as to the
truth of the allegations in paragraph 42.

43. The allegations in paragraph 43 relating to stylistic designations used in the
Complaint for Damages do not require a response. Boeing lacks knowledge or information
sufficient to form a belief as to the truth of the remaining allegations in paragraph 43.

44, —_ Boeing admits that it is a Delaware corporation with its corporate headquarters
located in Chicago, Cook County, Illinois; that its commercial aircraft operations are based in the
State of Washington; that it maintains manufacturing facilities in Renton, Washington; and that
the final assembly of the Aircraft took place in Renton, Washington. Except as expressly
admitted, Boeing denies the allegations in paragraph 44.

45. The allegations in paragraph 45 are directed to another defendant and do not
require a response from Boeing. Ifa response is required, Boeing lacks knowledge or
information sufficient to form a belief as to the truth of the allegations in paragraph 45.

JURISDICTION AND VENUE

46. The allegations in paragraph 46 contain legal conclusions to which no response is

required. If a response is required, Boeing admits that this Court has jurisdiction over this matter

under 28 U.S.C. §1369 and 28 U.S.C. § 1332, but denies that any district in the ULS. is a

Perkins Coie tip
1201 Third Avenue, Suite 4800
ANSWER OF DEFENDANT THE BOEING Seattle, Washington 98101-3099
COMPANY (NO. C-07-1907 TSZ) - 8 Phone: (206) 359-8000
01038-4931/LEGAL13862543.1 Fax: (206) 359-9000

 
SINAN PWN

mAb PH HAA AA SH SW WwW WWW WWW WNNNNN NNN DNDN NS BS HH SH RP eRe
KEDTomANDUNBWNH DO WAADMA PWN DUO WAAABPWNHH DO eAIAMNHWN OY

 

Case: 1:08-cv-03325 Document #: 13 Filed: 01/11/08 Page 9 of 18 PagelD #:217

convenient forum for litigating plaintiffs’ claims, as they should be resolved by the courts of
Indonesia.

47. Boeing admits that final assembly of the Aircraft took place in Renton,
Washington, and that Boeing’s activities with respect to design, manufacture, assembly, testing,
and customer support for 737 model aircraft were and are predominantly based in the State of
Washington. The remaining allegations in paragraph 47 consist of legal conclusions to which to
response is required.

48. The allegations in paragraph 48 consist of legal conclusions to which no response
is required.

49. The allegations in paragraph 49 are directed to another defendant and do not
require a response from Boeing. In addition, the allegations in paragraph 49 consist of legal
conclusions to which no response is required.

GENERAL ALLEGATIONS

50. Boeing admits that on September 5, 2005, a Boeing 737-200 operated as Mandala
Airlines Flight 091 failed to gain sufficient altitude on takeoff from Medan-Polonia airport and
crashed into a nearby neighborhood, causing a fire. Except as expressly admitted, Boeing lacks
knowledge and information sufficient to form a belief as to the truth of the allegations contained
in paragraph 50.

51. Boeing lacks knowledge and information sufficient to form a belief as to the truth
of the allegations that 16 passengers survived the accident with serious injuries and that a
substantial number of people on the ground were “seriously injured.” Boeing admits the
remainder of the allegations in paragraph 51.

52. Boeing admits that the official investigation of the accident is the responsibility of
Indonesian governmental authorities. Boeing further admits that the United States, as
represented by an Accredited Representative from the U.S. National Transportation Safety

Board, is participating in the investigation. Boeing also admits that, as a technical advisor to the

Perkins Coie Lip
1201 Third Avenue, Suite 4800
ANSWER OF DEFENDANT THE BOEING Seattle, Washington 98101-3099
COMPANY (NO. C-07-1907 TSZ) - 9 Phone: (206) 359-8000
01038-4931/LEGAL13862543.1 Fax: (206) 359-9000

 

 
So~ IAM PhWhD —

 

 

Case: 1:08-cv-03325 Document #: 13 Filed: 01/11/08 Page 10 of 18 PagelD #:218

U.S. Accredited Representative, it sent an investigator from its Air Safety Group near Seattle,
Washington and an engineer to Indonesia to assist in the early phases of the investigation.
Except as expressly admitted, Boeing lacks knowledge and information sufficient to form a
belief as to the truth of the allegations contained in paragraph 52.

53. Boeing admits that the original Fight Data Recorder and the Cockpit Voice
Recorder were examined in Washington, D.C., under the direction of the Indonesian authorities
and that the data was provided to the Indonesian authorities. Boeing also admits that the
Indonesian authorities have not yet issued the final accident investigation report. Except as
expressly admitted, Boeing lacks knowledge and information sufficient to form a belief as to the
truth of the allegations contained in paragraph 53.

COUNT I
(Strict Products Liability Against Boeing)

54. Boeing incorporates by reference its responses to paragraphs 1 through 53 as
stated above.

55. Boeing admits that it designed, manufactured, tested, inspected, marketed,
distributed and/or sold the Aircraft, except for those components, parts, and systems of the
Aircraft designed, manufactured, tested, inspected, marketed, distributed and/or sold by others,
and the components, parts, and systems that were subsequently removed, installed, exchanged,
altered, modified, retrofitted, overhauled or manufactured by others. Boeing admits that it
provided limited post-delivery information to the operators of the Aircraft. Boeing denies the
remaining allegations contained in paragraph 55.

56. Boeing lacks knowledge or information sufficient to form a belief as to the truth
of the allegations in paragraph 56.

57. Boeing denies the allegations contained in paragraph 57, including its sub-parts.

58. Boeing denies the allegations contained in paragraph 58.
COUNT II
Perkins Coie tip
1201 Third Avenue, Suite 4800
ANSWER OF DEFENDANT THE BOEING Seattle, Washington 98101-3099
COMPANY (NO. C-07-1907 TSZ) - 10 Phone: (206) 359-8000

01038-4931/LEGAL 13862543. I Fax: (206) 359-9000

 
on N BW NN

MtahbpHp HSH HHH HS PW WW WWW WWW WNNNNNNN NN N HR Re RS See Ee
KH Dorma NANMNBWN KH DORA RDNRWN KH TO MANNA WN HK TO AAANAH WN Ow

 

Case: 1:08-cv-03325 Document #; 13 Filed: 01/11/08 Page 11 of 18 PagelD #:219

(Negligence Against Boeing)

59. Boeing incorporates by reference its responses to paragraphs | through 58 as
stated above.

60. Paragraph 60 consists of legal conclusions to which no response is required.

61. Boeing admits that it provided limited post-delivery information to the operators
of the Aircraft. Except as expressly admitted, the allegations contained in paragraph 61 are
denied.

62. Paragraph 62 consists of legal conclusions to which no response is required.

63. Boeing denies the allegations contained in paragraph 63, including its sub-parts.

64. Boeing denies the allegations contained in paragraph 64.

COUNTIT
(Strict Products Liability Against UTC)

65. Boeing incorporates by reference its responses to paragraphs | through 64 as
stated above.

66. The allegations in paragraph 66 are directed to another defendant and do not
require a response from Boeing. To the extent a response is required, Boeing lacks knowledge or
information sufficient to form a belief as to the truth of the allegations in paragraph 66.

67. Boeing lacks knowledge or information sufficient to form a belief as to the truth
of the allegations in paragraph 67.

68. The allegations in paragraph 68 are directed to another defendant and do not
require a response from Boeing. To the extent a response is required, Boeing lacks knowledge or
information sufficient to form a belief as to the truth of the allegations in paragraph 68.

69. The allegations in paragraph 69 are directed to another defendant and do not
require a response from Boeing. To the extent a response is required, Boeing lacks knowledge or

information sufficient to form a belief as to the truth of the allegations in paragraph 69.

COUNT IV
Perkins Coie tip
1201 Third Avenue, Suite 4800
ANSWER OF DEFENDANT THE BOEING Seattle, Washington 98101-3099
COMPANY (NO. C-07-1907 TSZ) - 11 Phone: (206) 359-8000

01038-4931/LEGAL13862543.1 Fax: (206) 359-9000

 

 
 

On NMABWN

 

 

Case: 1:08-cv-03325 Document #: 13 Filed: 01/11/08 Page 12 of 18 PagelD #:220

(Negligence Against UTC)

70. Boeing incorporates by reference its responses to paragraphs 1 through 70 as
stated above.

71. The allegations in paragraph 70 are directed to another defendant and do not
require a response from Boeing. To the extent a response is required, Boeing lacks knowledge or
information sufficient to form a belief as to the truth of the allegations in paragraph 70.

72. The allegations in paragraph 71 are directed to another defendant and do not
require a response from Boeing. To the extent a response is required, Boeing lacks knowledge or
information sufficient to form a belief as to the truth of the allegations in paragraph 71.

73. The allegations in paragraph 73 are directed to another defendant and do not
require a response from Boeing. To the extent a response is required, Boeing lacks knowledge or
information sufficient to form a belief as to the truth of the allegations in paragraph 73.

74. — The allegations in paragraph 74 are directed to another defendant and do not
require a response from Boeing. To the extent a response is required, Boeing lacks knowledge or
information sufficient to form a belief as to the truth of the allegations in paragraph 74.

DAMAGES

75. Boeing denies the allegations contained in paragraph 75.

76. Boeing denies the allegations contained in paragraph 76.

77. Boeing denies the allegations contained in paragraph 77.

78. Boeing denies the allegations contained in paragraph 78.

79. Boeing denies the allegations contained in plaintiffs’ Prayer.

Perkins Coie Lip

1201 Third Avenue, Suite 4800
ANSWER OF DEFENDANT THE BOEING Seattle, Washington 98101-3099

COMPANY (NO. C-07-1907 TSZ) - 12 Phone: (206) 359-8000
01038-4931/LEGAL13862543.1 Fax: (206) 359-9000

 
SIAM PWN

 

Case: 1:08-cv-03325 Document #: 13 Filed: 01/11/08 Page 13 of 18 PagelD #:221

BOEING’S AFFIRMATIVE DEFENSES

1. The Complaint for Damages and all claims for relief alleged therein fail to state a
claim against Boeing upon which relief can be granted.

2. Plaintiffs’ damages and the damages of plaintiffs’ decedents, if any, were
proximately caused by the acts or omissions of others over whom Boeing had no control or right
of control, and which may include but is not limited to the flight crew on Flight 091, the operator
of Flight 091, and/or the airport operator, and said acts or omissions were a superseding and sole,
direct, and proximate cause of plaintiffs’ damages and the damages of plaintiffs’ decedents, if
any.

3. If plaintiffs or plaintiffs’ decedents were damaged by products originally
designed, manufactured, assembled, inspected, tested or sold by Boeing, those products were
subsequently installed, removed, exchanged, altered, modified, retrofitted, repaired, overhauled,
remanufactured, improperly maintained, or misused by persons and/or entities other than Boeing,
and over whom Boeing had no control or right of control, and such installation, removal, change,
alteration, repair, modification, retrofitting, overhauling, remanufacturing, improper
maintenance, or misuse proximately caused and contributed to the events alleged in the
Complaint for Damages and the resulting damages complained of, if any.

4, Third parties over whom Boeing had no control altered and/or misused the
Aircraft and/or components thereof, which parties may include but are not limited to the flight
crew on Flight 091, the operator of Flight 091 and the operator of the airport where the accident
occurred, and said acts or omissions were the sole, direct, and proximate cause of the damages, if
any, of plaintiffs and plaintiffs’ decedents.

5. Pursuant to RCW 4.22.070 and CR 12(i), Boeing places in issue the negligence,
fault, and responsibility of all persons and entities that have contributed in any degree to the
injuries and damages alleged to have been sustained by plaintiffs and plaintiffs’ decedents, which

may include but is not limited to the flight crew on Flight 091, the operator of Flight 091 and the

Perkins Coie tip
1201 Third Avenue, Suite 4800
ANSWER OF DEFENDANT THE BOEING Seattle, Washington 98101-3099
COMPANY (NO. C-07-1907 TSZ) - 13 Phone: (206) 359-8000
01038-4931/LEGAL13862543.1 Fax: (206) 359-9000

 

 
Onn NN PWN

AUARERRRERBRREKRRAKWWWWWWWWWWNNNNNNNNNNKP ES ee ee eee
KBEDOWMWIDMAEWNH HK DOMADAARHWDNE DOMONIANBUNH HE SOMIBKDUNABRHON-—SY

 

Case: 1:08-cv-03325 Document #: 13 Filed: 01/11/08 Page 14 of 18 PagelD #:222

operator of the airport where the accident occurred. Judgment against Boeing, if any, should be
diminished to an amount that represents Boeing’s degree of negligence, fault, or responsibility, if
any.

6. The Aircraft was intended for and sold to a knowledgeable and sophisticated user
over whom Boeing had no control.

7. The Aircraft and all components thereof were certified as airworthy by the
Federal Aviation Administration and complied with all applicable codes, standards and
regulations of the United States and agencies thereof at the time it was delivered.

8. Boeing complied with all applicable federal and state statutes and administrative
regulations existing at the time the Aircraft and all components thereof were manufactured and
all applicable standards for design, inspection, testing, warning and manufacture.

9. The design of the Aircraft and each component thereof that was installed at the
time of delivery was consistent with or exceeded the “‘state of the art” at the time of its design
and manufacture.

10. ‘The benefits of the design of the Aircraft and each component thereof outweigh
the risks associated therewith, if any.

11. Plaintiffs’ rights to recovery, if any, are limited to or precluded by the warranty
provisions, including limitations and disclaimer provisions, in Boeing’s contract of sale for the
Aircraft and/or documents relating thereto.

12. Plaintiffs’ claims are preempted, in whole or in part, by the Washington Product
Liability Act.

13. The Complaint for Damages and all claims for relief therein should be dismissed
on the ground that plaintiffs have failed to join necessary and indispensable parties.

14, Plaintiffs may lack the capacity and/or standing to bring this action.

Perkins Coie Lip
1201 Third Avenue, Suite 4800
ANSWER OF DEFENDANT THE BOEING Seattle, Washington 98101-3099
COMPANY (NO. C-07-1907 TSZ) - 14 Phone: (206) 359-8000
01038-4931/LEGAL 13862543. Fax: (206) 359-9000

 
 

CIUNDNARWNG

AWnWNbBERRARP AR HRRRRWWWWWWWWWWNNNNNNNNNN HBS eee eee ew
SK MTOOAINN HPWH KH DUO WANN DPWNOK DH WINN BRWN | DO wmMAITANAUNARWHOK COO

 

Case: 1:08-cv-03325 Document #: 13 Filed: 01/11/08 Page 15 of 18 PagelD #:223

15. Plaintiffs’ wrongful death claims may be barred because there may be a defect or
misjoinder of parties in this action, in that plaintiffs may have failed to name in their Complaint
for Damages all proper plaintiffs as parties to the action.

16. Some or all of Plaintiffs’ claims and available damages may be barred by virtue of
prior settlements with respect to plaintiffs, plaintiffs’ decedents and/or plaintiffs’ decedents’
estates.

17. Plaintiffs’ claims may be barred in whole or in part because they may have
already received full satisfaction and/or compensation for the injuries and damages, if any, and
their claims may be barred by plaintiffs’ prior release of claims and/or accord and satisfaction
with any entity.

18. With regard to claims by any plaintiffs who may have been or whose decedents
may have been members of the Mandala Airlines crew on the Aircraft at the time of the accident,
recovery by those plaintiffs is barred or should be reduced by the applicable law because of the
contributory negligence, contributory fault, and/or assumption of the risk by those plaintiffs or
their decedents. .

19. Plaintiffs or their decedents may have failed to use reasonable efforts to mitigate
their damages, if any, and failed to protect themselves from avoidable consequences.

20. An award or judgment rendered in favor of plaintiffs must be reduced by the
amount of benefits plaintiffs received, or are entitled to receive, from any source as a result of
the deaths of their decedents.

21. Plaintiffs’ or their decedents’ injuries, if any, may have been caused or
exacerbated by a pre-existing illness, injury, and/or condition.

22. The damages, if any, of plaintiffs and plaintiffs’ decedents may have been directly
and proximately caused by an unavoidable accident or act of God for which Boeing is not liable.

23. Plaintiffs’ action may be governed, in whole or in part, by the laws of

Jurisdictions other than Washington, including the laws of other states or of foreign countries.

Perkins Coie Lip
1201 Third Avenue, Suite 4800
ANSWER OF DEFENDANT THE BOEING Seattle, Washington 98101-3099
COMPANY (NO. C-07-1907 TSZ) - 15 Phone: (206) 359-8000
01038-4931/LEGAL 13862543. 1 Fax: (206) 359-9000

 

 
ArAKDAHWN

MmAonphH HHH HA HA HS HWW WWWWWWWWNNNNNNNN NN — SS BH SR eR eee
KH TWO OAIADNPWNK§ TO OAIADNMNHPWN KH CTO RADA HRWN KH CO WMAANHWN | ©”

 

Case: 1:08-cv-03325 Document #: 13 Filed: 01/11/08 Page 16 of 18 PagelD #:224

Pursuant to Rule 44.1 of the Federal Rules of Civil Procedure, Boeing hereby gives notice that it
intends to raise issues in this action concerning the law of a foreign country or countries.

24. | The Complaint and all claims for relief therein should be dismissed on the ground
of forum non conveniens.

25. Plaintiffs’ claims may be barred, in whole or in part, by the applicable statute of
repose.

26. Plaintiffs’ claims may be barred, in whole or in part, by the applicable statutes of

limitations.

27. Plaintiffs’ claims may be barred in whole or in part and/or preempted by federal
law.

28. Plaintiffs’ claims may be barred in whole or in part by res judicata, by release,

and/or by the equitable doctrines of laches, waiver, and/or estoppel.

29. Plaintiffs’ complaint is premature in that it was filed and served before the
investigation into the cause of the accident were complete. Boeing therefore reserves the right to
add those affirmative defenses which it deems necessary to its defense during or upon the
conclusion of investigation and discovery. Boeing further reserves the right to assert any
additional affirmative defenses asserted by another defendant and/or allowed by the law of the
jurisdiction found to apply in this case.

WHEREFORE, Defendant Boeing prays as follows:

l. That Plaintiffs take nothing by the Complaint for Damages, that the Complaint for
Damages be dismissed, and that judgment on the Complaint for Damages be entered for Boeing;

2. That Boeing be awarded its costs of suit and attorneys’ fees;

3, That the Court grant such further relief as the Court may deem just and proper.

Perkins Coie tip
1201 Third Avenue, Suite 4800
ANSWER OF DEFENDANT THE BOEING Seattle, Washington 98101-3099
COMPANY (NO. C-07-1907 TSZ) - 16 Phone: (206) 359-8000
01038-493 1/LEGAL 13862543. 1 Fax: (206) 359-9000

 

 
COIN DB WN

MAumubpbB HR ER BH PHD DP DW WW WWW WWW WNNNNNN NNN YN H— RH BH BH B= BS BSB BK Ke
S$ STO PFANDABWN KH TO KEAIDAAHBWNHKH DO FANANAMABPWNH DO MADAM BWNY- CNH

 

Case: 1:08-cv-03325 Document #: 13 Filed: 01/11/08 Page 17 of 18 PagelD #:225

JURY TRIAL DEMAND

Boeing demands a jury trial of all claims to the fullest extent allowable by applicable law

and which do not deprive this Court of jurisdiction over the subject matter of any claim or the

person of any party.

DATED: January 11, 2008.

ANSWER OF DEFENDANT THE BOEING
COMPANY (NO. C-07-1907 TSZ) - 17
01038-493 1/LEGAL13862543.1

PERKINS COIE LLP

/s/ Allison Kendrick, WSBA #27093
Keith Gerrard, WSBA #102 —
Email: kgerrard@perkinscoie.com
Allison Kendrick, WSBA #27093
Email: akendrick@perkinscoie.com
David Lassen, WSBA #37392
Email: dlassen@perkinscoie.com
1201 Third Avenue, Suite 4800
Seattle, WA 98101-3099

Phone: (206) 359-8000

Attorneys for Defendant The Boeing Company

Perkins Coie tLp

1201 Third Avenue, Suite 4800
Seattle, Washington 98101-3099

Phone: (206) 359-8000
Fax: (206) 359-9000

 

 
 

SrA NDM PWN

waAa”bt PAP HPA HPA H HDWwWWWWWWWWWNN NNN NNNNDNDN &— BB BH BH BS Re Se eS
KHBHDTOoMANDMABRWN HK DO WANDMNAPWNH THO MAATAANAMNAEWN HK DO WANDUNAHRWNHHK COLO

 

Case: 1:08-cv-03325 Document #: 13 Filed: 01/11/08 Page 18 of 18 PagelD #:226

CERTIFICATE OF SERVICE

I hereby certify that on January 11, 2008, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF System which will send notification of such filing to counsel
for Plaintiff.

I certify under penalty of perjury that the foregoing is true and correct.

DATED this 11th day of January, 2008.

 

s/ Allison Kendrick
Perkins Coie Lip
1201 Third Avenue, Suite 4800
ANSWER OF DEFENDANT THE BOEING Seattle, Washington 98101-3099
COMPANY (NO. C-07-1907 TSZ) - 18 Phone: (206) 359-8000

01038-4931/LEGAL 13862543. 1 Fax: (206) 359-9000

 
